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           This case iscurrently scheduled fortrialon the stacked calendarof Jtm e 7, 20l1.
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                IT IS O RDERED thatthis case is referred to The Honorable Law rence R.Leavittforthe                  '
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